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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 14-1109V
                                        Filed: March 4, 2016
                                 Reissued Redacted: March 10, 2016
                                         Not for Publication

*************************************
P. D.-L.,                                  *
                                           *
              Petitioner,                  *
                                           *       Damages decision based on
 v.                                        *       stipulation; diphtheria-tetanus-
                                           *       acellular pertussis (“Tdap”) vaccine;
SECRETARY OF HEALTH                        *       panuveitis; uveitis; vasculitis
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
                                           *
*************************************
Nancy R. Meyers, Greensboro, NC, for petitioner.
Julia W. McInerny, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

        On March 4, 2016, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges that she suffered injuries
including panuveitis, uveitis, and vasculitis that were caused by her January 20, 2012 receipt of
the diphtheria-tetanus-acellular pertussis (“Tdap”) vaccine. Respondent denies that the Tdap
vaccine caused petitioner’s panuveitis, uveitis, vasculitis, or any other injury. Nonetheless, the

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access. On
March 10, 2016, petitioner moved to redact this ruling. The undersigned granted petitioner’s motion on
the same day.
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parties agreed to resolve this matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$50,000.00, representing reimbursement for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2012). The award shall be in the form of a check payable to petitioner in the
amount of $50,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: March 10, 2016                                                      s/ Laura D. Millman
                                                                             Laura D. Millman
                                                                               Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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